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                     9                               UNITED STATES DISTRICT COURT
                                                    NORTHERN DISTRICT OF CALIFORNIA
                10                                      SAN FRANCISCO DIVISION
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                         DAVID AND NATASHA WIT, on behalf               Case No. 3:14-CV-02346-JCS
                13       of themselves and all others similarly
                         situated, and BRIAN MUIR, on his own
                14       behalf and on behalf of all others similarly
                         situated,                                      [PROPOSED] ORDER GRANTING
                15                                                      DEFENDANTS UNITED HEALTHCARE
                                            Plaintiffs,                 INSURANCE COMPANY AND UNITED
                16                                                      BEHAVIORAL HEALTH’S MOTION TO
                                v.                                      DISMISS PURSUANT TO RULE 12(b)(6)
                17
                         UNITED HEALTHCARE INSURANCE
                18       COMPANY and UNITED BEHAVIORAL                  Action Filed:       May 21, 2014
                         HEALTH (operating as OPTUMHEALTH
                19       BEHAVIORAL SOLUTIONS),

                20                          Defendants.

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  C ROWELL
& M ORING LLP                                                                     [PROPOSED] ORDER GRANTING DEFENDANTS’
ATTO RNEY S AT LAW                                                              MOTION TO DISMISS; CASE NO. 3:14-CV-02346-JCS
                           Case 3:14-cv-02346-JCS Document 21-3 Filed 07/18/14 Page 2 of 2



                     1                                       [PROPOSED] ORDER

                     2            Before the Court is Defendants United Healthcare Insurance Company and United

                     3   Behavioral Health’s Motion to Dismiss. Having reviewed the parties’ submissions,

                     4            IT IS HEREBY ORDERED that Defendants’ Motion is GRANTED.

                     5            IT IS HEREBY FURTHER ORDERED that Plaintiffs’ Class Action Complaint is

                     6   DISMISSED in its entirety WITH PREJUDICE.

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                     8            IT IS SO ORDERED.

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                         Dated:
                10                                                          The Honorable Joseph C. Spero
                11                                                          United States Magistrate Judge
                         SFACTIVE-903375403.2
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  C ROWELL
& M ORING LLP                                                                     [PROPOSED] ORDER GRANTING DEFENDANTS’
ATTO RNEY S AT LAW                                                              MOTION TO DISMISS; CASE NO. 3:14-CV-02346-JCS
